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 1   ADAM L. STRELTZER, Attorney at Law
        California Bar Number 175075
 2   1875 Century Park East, Suite 700
     Los Angeles, California 90067-2508
 3   Tel: (424) 652-8010
     Fax: (424) 652-2296
 4   Email: adam@streltzer.com
 5   Attorney for Judgment Creditor RONALD
     KOLODZIEJ, an individual and doing
 6   business as NIAGARA CONSTRUCTION
 7
 8                        UNITED STATES BANKRUPTCY COURT
 9                         CENTRAL DISTRICT OF CALIFORNIA
10
11   In re                                        Case No. 2:12-bk-39952-WB
12   PETER D. MULLINS,                            Chapter 11
13                      Debtor.                   Adv. No. 2:12-ap-02670-WB
14                                                MOTION FOR ORDER ASSIGNING
     RONALD KOLODZIEJ, an individual              JUDGMENT DEBTOR'S RIGHT TO
15   and doing business as NIAGARA                PAYMENTS AND ORDER
     CONSTRUCTION,                                RESTRAINING JUDGMENT
16                                                DEBTOR; MEMORANDUM OF
                        Plaintiff(s),             POINTS AND AUTHORITIES;
17                                                REQUEST FOR JUDICIAL NOTICE;
     v.                                           DECLARATION OF ADAM L.
18                                                STRELTZER
     PETER D. MULLINS, an individual,             [F.R.B.P. Rule 7069; F.R.C.P. Rule
19                                                69(a)(1); Cal. Code of Civ. Proc.
                        Defendant(s).             §§708.510 & 708.520]
20
                                                  Hearing:
21                                                Date: September 29, 2016
                                                  Time: 10:00 a.m.
22                                                Place: Courtroom 1375
                                                         255 E. Temple St.
23                                                       Los Angeles, California
24                                                Judgment Entered:    August 11, 2014
25           TO THE HON. JULIA W. BRAND, UNITED STATES BANKRUPTCY JUDGE,
26   AND TO THE JUDGMENT DEBTOR PETER D. MULLINS, AN INDIVIDUAL:
27           Judgment Creditor and moving party RONALD KOLODZIEJ, an individual and doing
28   business as NIAGARA CONSTRUCTION ("Judgment Creditor"), pursuant to F.R.B.P.

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 1   Rule 7069, F.R.C.P. Rule 69(a)(1), and California Code of Civil Procedure (Cal. Code of Civ.
 2   Proc.) §§708.510 & 708.520, hereby moves this Court for the following Orders:
 3          1.    For an Order assigning the rights of Judgment Debtor PETER D. MULLINS, an
 4   individual ("Judgment Debtor"), to payment of monies due or to become due from:
 5                (a)    Seller/Owner of that certain residential real property located at 435 Pier
 6         Ave., Santa Monica, California 90405 (APN 4287-026-011) and currently marketed for
 7         sale as Multiple Listing Service ("MLS") identification no. 16-126042;
 8                (b)    Seller/Owner of that certain residential real property located at 2817
 9         Third St., Santa Monica, California 90405 (APN 4287-022-014) and currently
10         marketed for sale as MLS identification no. 16-100550;
11                (c)    AP Real Estate;
12                (d)    Peter Mullins Properties;
13                (e)    Peter Mullins Real Estate, Inc.; and
14                (f)    St Onge Mullins Properties Inc.;
15   for salesperson and/or broker commissions, fees, consulting fees, advances, reimbursement to
16   expense accounts, bonuses, sales bonuses, royalty bonuses, and all other types of related
17   payments (other than wages).
18          2.    An Order restraining Judgment Debtor, and any servant, agent, employee,
19   representative, attorney, or any person(s) in active concert and participating with the
20   Judgment Debtor, should be restrained and enjoined from encumbering, assigning, selling,
21   transferring, disposing, dividing, or licensing Judgment Debtor's above-described rights to
22   payment sought to be assigned prior to the satisfaction of Judgment Creditor's judgment.
23          A stipulated money judgment in the amount of $225,000 was entered by this Court on
24   August 11, 2014 in favor of Judgment Creditor and against Judgment Debtor ("Judgment")
25   [Docket No. 62] [Exhibit A]. The Judgment Debtor subsequently defaulted on payment, the
26   stay of enforcement expired, and this Court issued a Writ of Execution on June 7, 2016 for
27   the enforcement of the balance due, in the amount of $223,455.64 plus $0.65 per day interest
28   thereafter [Docket No. 69] [Exhibit B]. The Judgment remains due and outstanding.

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 1          This motion for an assignment order and restraining order is made on the grounds that
 2   the Judgment Creditor has an enforceable and unsatisfied judgment entered against the
 3   Judgment Debtor, which has become final and for which there is no stay on enforcement, the
 4   Judgment Debtor has the above-described rights to payment which are assignable in
 5   satisfaction of the Judgment, the Judgment Debtor's rights to payment are property from
 6   which the Judgment may be satisfied, and there is a need to restrain the Judgment Debtor so
 7   that such payments will be available to be applied to the Judgment and these ongoing
 8   judgment enforcement efforts will not be hindered. This motion should be granted and the
 9   Judgment Debtor's above-described rights to payment should be assigned to the Judgment
10   Creditor, absolutely and outright, to the extent necessary to pay the Judgment in full,
11   including all costs, fees, and interest accrued through the date of payment.
12          This motion is based upon this Notice, the Memorandum of Points and Authorities, the
13   pleadings, records, and files in this action, the attached Declaration of Adam L. Streltzer, and
14   such oral and other documentary evidence and argument that may be presented at the hearing
15   of this Motion.
16          Respectfully submitted.
17   DATED: September 1, 2016                 ADAM L. STRELTZER, Attorney at Law
18
19                                            By:      /s/ Adam L. Streltzer
                                                    Adam L. Streltzer
20                                                  Attorney for Judgment Creditor RONALD
                                                    KOLODZIEJ, an individual and doing
21                                                  business as NIAGARA CONSTRUCTION
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 1                    MEMORANDUM OF POINTS AND AUTHORITIES
 2                                                 I.
 3                                        INTRODUCTION
 4          This case concerns a judgment debtor who, for almost 2 years, has failed to pay his
 5   judgment creditor the amounts due and owing on an agreed-upon judgment, and the judgment
 6   creditor's attempt to collect that balance due.
 7          A stipulated money judgment in the amount of $225,000 was entered by this Court on
 8   August 11, 2014 ("Judgment") [Docket No. 62] [Exhibit A]. The Judgment was entered in
 9   favor of Judgment Creditor and moving party RONALD KOLODZIEJ, an individual and
10   doing business as NIAGARA CONSTRUCTION ("Judgment Creditor") and against
11   Judgment Debtor PETER D. MULLINS, an individual ("Judgment Debtor"). The Judgment
12   Debtor subsequently defaulted on payment, the stay of enforcement expired, and this Court
13   issued a Writ of Execution thereupon on June 7, 2016 for the enforcement of the balance due,
14   in the amount of $223,455.64 plus $0.65 per day interest thereafter [Docket No. 69] [Exhibit
15   B]. The Judgment remains due and outstanding.
16          Here the Judgment Creditor has an enforceable and unsatisfied judgment entered
17   against the Judgment Debtor, which has become final and for which there is no stay on
18   enforcement, the Judgment Debtor has certain rights to payment which are assignable in
19   satisfaction of the Judgment, the Judgment Debtor's rights to payment are property from
20   which the Judgment may be satisfied, and there is a need to restrain the Judgment Debtor so
21   that such payments will be available to be applied to the Judgment and these ongoing
22   judgment enforcement efforts will not be hindered. This motion should be granted.
23                                                 II.
24                     JUDGMENT DEBTOR'S RIGHTS TO PAYMENT
25          The Judgment Debtor is a real estate broker, licensed by the California Department of
26   Real Estate ("DRE") as number 00973691 (currently "active"), and doing business as "AP
27   Real Estate" and formerly doing business as licensed officer of "Peter Mullins Real Estate,
28   Inc." and "St Onge Mullins Properties Inc." [Exhibit C]

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 1          Judgment Creditor has recently determined that the Judgment Debtor is actively
 2   marketing, under his DRE license and the business name of "Peter Mullins Properties," and
 3   utilizing the website at www.petermullinsproperty.com, at least two (2) residential real
 4   properties in the County of Los Angeles and may soon earn the right to collect a commission
 5   and/or earn fees (not wages) from the owners/sellers of those properties. [Exhibit D] The first
 6   property is 435 Pier Ave., Santa Monica, California 90405 (APN 4287-026-011), listed for
 7   sale as Multiple Listing Service ("MLS") #16-126042 at the price of $2,195,000.00. [Exhibit
 8   E] The second property is 2817 Third St., Santa Monica, California 90405 (APN 4287-022-
 9   014), listed for sale as MLS #16-100550 at the price of $3,599,000.00. [Exhibit F].
10          Assuming Judgment Debtor earns the right to a typical salesperson and/or broker
11   commissions and fees of between 4% to 6%, then the Judgment Debtor has or will soon have
12   a right to payment of commissions or other payments in between the estimated amounts of
13   $231,760.00 and $347,640.00. This amount is sufficient to satisfy most or all of the
14   outstanding balance due of the Judgment.
15                                                 III.
16          THE COURT IS AUTHORIZED TO ENTER ORDERS ASSIGNING A
17    JUDGMENT DEBTOR'S RIGHTS TO PAYMENT TOWARDS SATISFACTION
18            OF AN OUTSTANDING JUDGMENT ("ASSIGNMENT ORDER")
19          A.    Federal Rules
20          Pursuant to Federal Rule of Civil Procedure (F.R.C.P.) Rule 69(a)(1), as incorporated
21   by Federal Rule of Bankruptcy Procedure (F.R.B.P.) 7069, a "money judgment is enforced by
22   a writ of execution, unless the court directs otherwise [and the] procedure on execution—and
23   in proceedings supplementary to and in aid of judgment or execution—must accord with the
24   procedure of the state where the court is located, but a federal statute governs to the extent it
25   applies." F.R.C.P. Rule 69(a)(1) (italics added). The effect of F.R.B.P. Rule 7069 and
26   F.R.C.P. Rule 69 is to incorporate the law of the state of the forum to determine the
27   availability and procedures for enforcement of judgment. Here the forum is a district within
28   the State of California, and so California's enforcement of judgment laws would apply.

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 1          Pursuant thereto, California's enforcement of judgment law, particularly the
 2   "assignment order" provisions of Cal. Code of Civ. Proc. §§708.510 & 708.520, may be used
 3   to reach a judgment debtor's present and future income or rights to payment. See Peterson v.
 4   Islamic Republic of Iran, 627 F.3d 1117, 1130-1131 (9th Cir. 2010) (The court "may order
 5   the judgment debtor to assign to the judgment creditor . . . all or part of a right to payment
 6   due or to become due, whether or not the right is conditioned on future developments. . ..").
 7   See In re Rollins, 175 B.R. 69, 76-77 n.5 (Bankr. E.D. Cal. 1994).
 8          B.    State Procedures
 9          An assignment order is a court order which assigns to a judgment creditor a judgment
10   debtor's rights to payment due or to become due from a third party, regardless of whether
11   such rights are uncertain, conditional, or contingent. Cal. Code of Civ. Proc. §708.510 et seq.
12   Courts have broad discretion in determining whether to order assignment. Cal. Code of Civ.
13   Proc. §708.510(c). Note an assignment order as contemplated by Cal. Code of Civ. Proc.
14   §708.510 et seq. actually "assigns a right to payment outright (not simply an order directing
15   the judgment debtor to do so)." Ahart, Cal. Prac. Guide: Enforcing Judgments and Debts (The
16   Rutter Group), ¶6:1422.5 (italics in original). Accord Specialty Labs. Inc. v. Advanced
17   Biomedical, Inc. (In re Advanced Biomedical, Inc.), 547 B.R. 337, 341-342 (Bankr. C.D.
18   Cal., Mar. 22, 2016) (there is no defect in assigning rights to payment outright).
19          This procedure allows a judgment creditor to reach certain forms of property that
20   cannot ordinarily be reached by levy under a writ of execution. More importantly, it provides
21   an optional procedure for reaching assignable forms of property that are subject to levy but as
22   to which the creditor might face difficulty in actually reaching by levy. The assignment order
23   remedy may be used by alone, or it may be used in conjunction with any other remedy
24   provided in California's Enforcement of Judgments Law. See Legislative Committee
25   Comment to Cal. Code of Civ. Proc. §708.510 (first paragraph). [Exhibit G]
26          All property of a judgment debtor is subject to enforcement of a money judgment. Cal.
27   Code of Civ. Proc. §695.010(a). All or part of any right to payment due, or to become due,
28   may be ordered assigned, including a judgment debtor's right to receive future commissions

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 1   and any other payment right not expressly excluded by other law. Cal. Code of Civ. Proc.
 2   §708.510(a). Consequently this Court may issue an order directly assigning to a judgment
 3   creditor all or part of a judgment debtor's right to payment due or to become due. Although
 4   the Court may take into consideration all relevant factors, the sole constraints are the right to
 5   payment be assigned only to the extent necessary to satisfy the creditor's money judgment
 6   and that, where any part of the payment are exempt, the amount of the payments assigned
 7   should not exceed the difference between the gross amount of the payments and the exempt
 8   amount. See Cal. Code of Civ. Proc. §§708.510(c), (d), (e), and (f).
 9          C.    Request for Assignment Order
10          Judgment Creditors requests that this Court enter an Order assigning the Judgment
11   Debtor's rights to payment of monies due or to become due from:
12                (a)     Seller/Owner of that certain residential real property located at 435 Pier
13         Ave., Santa Monica, California 90405 (APN 4287-026-011) and currently marketed for
14         sale as MLS #16-126042;
15                (b)     Seller/Owner of that certain residential real property located at 2817
16         Third St., Santa Monica, California 90405 (APN 4287-022-014) and currently
17         marketed for sale as MLS #16-100550;
18                (c)     AP Real Estate;
19                (d)     Peter Mullins Properties;
20                (e)     Peter Mullins Real Estate, Inc.; and
21                (f)     St Onge Mullins Properties Inc.;
22   for salesperson and/or broker commissions, fees, consulting fees, advances, reimbursement to
23   expense accounts, bonuses, sales bonuses, royalty bonuses, and all other types of related
24   payments (other than wages).
25          The Judgment Debtors' above-described rights to payment are properly subject to an
26   assignment order, likely in an amount sufficient to satisfy most or all of the outstanding
27   balance due of the Judgment, and therefore this motion should be granted and said rights to
28   payment assigned to the Judgment Creditor.

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 1                                                IV.
 2                                    INJUNCTIVE RELIEF
 3          A judgment creditor may, concurrently with moving for an assignment order, apply for
 4   an order restraining the judgment debtor from assigning, disposing of, or encumbering the
 5   right to payment sought to be assigned. Cal. Code of Civ. Proc. §708.520(a). Such a
 6   restraining order may be issued solely upon the showing of need. Code of Civ. Proc.
 7   §708.520(b). Such a showing of need is set forth herein. [See Declaration of Adam L.
 8   Streltzer, p. 12, ¶11] Importantly, this is not a request for a temporary restraining order or
 9   preliminary injunction, but simply for regular injunctive relief upon regular notice. See
10   F.R.B.P. Rule 7065 (injunctive relief available in adversary proceedings).
11          As a consequence, the Judgment Debtor, and any servant, agent, employee,
12   representative, attorney, or any person(s) in active concert and participating with the
13   Judgment Debtor, should be restrained and enjoined from encumbering, assigning, selling,
14   transferring, disposing, dividing, or licensing Judgment Debtor's rights to payment described
15   above, so that such will be available to be applied to the Judgment and these ongoing
16   judgment enforcement efforts will not be hindered.
17                                                V.
18                                   EXEMPTIONS (IF ANY)
19          Judgment Debtor may have exemptions to shelter some of the rights to payment
20   sought for assignment by way of this motion. If so, Judgment Debtor may choose to claim
21   any available exemption in response to this motion, in compliance with otherwise applicable
22   rule and law. See Cal. Code of Civ. Proc. §708.550(a) (procedures for a judgment debtor to
23   claim that all of, or part of, a right to payment is exempt from enforcement).
24                                                VI.
25                              SERVICE--NOTICE OF MOTION
26          Notice of the motion for assignment of rights to payment is only required to be given
27   to the judgment debtor, either "personally or by mail." Cal. Code of Civ. Proc. §708.510(b).
28   The person or persons obligated to make payment to the Judgment Debtor, or who will

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 1   become obligated, is or are not affected by the Court's assignment order until thereafter
 2   served with the Court's order. See Cal. Code of Civ. Proc. §708.540.
 3                                                  VII.
 4                                          CONCLUSION
 5          This motion should be granted for the reasons set forth herein.
 6          Pursuant to F.R.B.P. Rule 7069, F.R.C.P. Rule 69(a)(1), and Cal. Code of Civ. Proc.
 7   §§708.510, this Court should order the absolute and outright assignment to Judgment
 8   Creditor of Judgment Debtor's right to salesperson and/or broker commissions, fees,
 9   consulting fees, advances, reimbursement to expense accounts, bonuses, sales bonuses,
10   royalty bonuses, and all other types of related payments (other than wages) due or to become
11   due from the sale of the residential real property at 435 Pier Ave. and/or 2817 Third St., Santa
12   Monica, California, directly or indirectly through AP Real Estate, Peter Mullins Properties,
13   Peter Mullins Real Estate, Inc., and/or St Onge Mullins Properties Inc., to the extent
14   necessary to pay the Judgment in full, including all costs, fees, and interest accrued through
15   the date of payment.
16          Further, pursuant to F.R.B.P. Rule 7069, F.R.C.P. Rule 69(a)(1), and Cal. Code of Civ.
17   Proc. §708.520, this Court should restrain and enjoin the Judgment Debtor, and any servant,
18   agent, employee, representative, attorney, or any person(s) in active concert and participating
19   with the Judgment Debtor, from encumbering, assigning, selling, transferring, disposing,
20   dividing, or licensing Judgment Debtor's above-described rights to payment due or to become
21   due thereunder.
22          Respectfully submitted.
23   DATED: September 1, 2016                 ADAM L. STRELTZER, Attorney at Law
24
25                                            By:         /s/ Adam L. Streltzer
                                                    Adam L. Streltzer
26                                                  Attorney for Judgment Creditor RONALD
                                                    KOLODZIEJ, an individual and doing
27                                                  business as NIAGARA CONSTRUCTION
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 1                            REQUEST FOR JUDICIAL NOTICE
 2          RONALD KOLODZIEJ, an individual and doing business as NIAGARA
 3   CONSTRUCTION ("Judgment Creditor") hereby requests that this Court take judicial
 4   notice of the following matters:
 5          1.    Judgment entered in this proceeding in favor of Judgment Creditor and against
 6   Judgment Debtor PETER D. MULLINS, an individual ("Judgment Debtor"), on August 11,
 7   2014 [Docket No. 62] [Exhibit A] ("Judgment");
 8          2.    Writ of Execution issued in this proceeding June 7, 2016 for the enforcement of
 9   the balance due of the Judgment, in the amount of $223,455.64 plus $0.65 per day interest
10   thereafter [Docket No. 69] [Exhibit B];
11          3.    Entry in the official public records of the State of California, Department of Real
12   Estate ("DRE") for Judgment Debtor (Peter D. Mullins), license number 00973691 (currently
13   "active"), doing business as "AP Real Estate," and formerly doing business as licensed officer
14   of "Peter Mullins Real Estate, Inc." and "St Onge Mullins Properties Inc." [Exhibit C]; and
15          4.    The law of the State of California enacted as Cal. Code of Civ. Proc. §§695.010,
16   708.510, 708.520, 708.530, 708.540, and 708.550 [Exhibit G].
17          Respectfully submitted.
18   DATED: September 1, 2016                ADAM L. STRELTZER, Attorney at Law
19
20                                           By:         /s/ Adam L. Streltzer
                                                   Adam L. Streltzer
21                                                 Attorney for Judgment Creditor RONALD
                                                   KOLODZIEJ, an individual and doing
22                                                 business as NIAGARA CONSTRUCTION
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 1                       DECLARATION OF ADAM L. STRELTZER
 2          I, ADAM L. STRELTZER, hereby state and declare:
 3          1.    I am an attorney at law duly admitted to practice before all of the courts of the
 4   State of California, and I am the attorney of record for Judgment Creditor and moving party
 5   RONALD KOLODZIEJ, an individual and doing business as NIAGARA CONSTRUCTION
 6   ("Judgment Creditor").
 7          2.    I have personal knowledge of the matters set forth in this declaration, and I
 8   would and could competently testify thereto if I were called upon to do so.
 9          3.    A stipulated money judgment in the amount of $225,000 was entered by this
10   Court on August 11, 2014 ("Judgment") in favor of Judgment Creditor and against Judgment
11   Debtor PETER D. MULLINS, an individual ("Judgment Debtor") [Docket No. 62]. A true
12   and correct copy of the Judgment is attached as Exhibit A and incorporated hereat.
13          4.    The Judgment Debtor subsequently defaulted on payment, the stay of
14   enforcement expired, and this Court issued a Writ of Execution thereupon on June 7, 2016 for
15   the enforcement of the balance due, in the amount of $223,455.64 plus $0.65 per day interest
16   thereafter [Docket No. 69]. A true and correct copy of the Writ of Execution is attached as
17   Exhibit B and incorporated hereat.
18          5.    The Judgment remains due and outstanding. As of the date of this declaration,
19   $223,511.54 is due for principal and interest, plus additional amounts for attorneys' fees
20          6.    The Judgment Debtor is a real estate broker, licensed by the State of California,
21   Department of Real Estate ("DRE"), as license number 00973691 (currently "active"), doing
22   business as "AP Real Estate," and formerly doing business as licensed officer of "Peter
23   Mullins Real Estate, Inc." and "St Onge Mullins Properties Inc." A true and correct copy of
24   the entry in the official records of the DRE, concerning the Judgment Debtor, as accessed by
25   me on September 1, 2016 at http://www2.dre.ca.gov/PublicASP/pplinfo.asp, is attached as
26   Exhibit C and incorporated hereat.
27          7.    I recently determined that the Judgment Debtor is actively marketing, under his
28   DRE license and the business name of "Peter Mullins Properties," and also utilizing the

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 1   website located at http://www.petermullinsproperty.com, at least two (2) residential real
 2   properties in the County of Los Angeles and may soon earn the right to collect a commission
 3   and/or earn fees (not wages) from the owners/sellers of those properties. A true and correct
 4   copy of the Judgment Debtor's public website showing the properties for sale is attached as
 5   Exhibit D and incorporated hereat.
 6          8.     The first property is 435 Pier Ave., Santa Monica, California 90405 (APN 4287-
 7   026-011), listed for sale as Multiple Listing Service ("MLS") #16-126042 at the price of
 8   $2,195,000.00. A true and correct copy of the public MLS listing is attached as Exhibit E
 9   and incorporated hereat.
10          9.     The second property is 2817 Third St., Santa Monica, California 90405 (APN
11   4287-022-014), listed for sale as MLS #16-100550 at the price of $3,599,000.00. A true and
12   correct copy of the public MLS listing is attached as Exhibit F and incorporated hereat.
13          10.    Assuming Judgment Debtor earns the right to a typical salesperson and/or broker
14   commissions and fees of between 4% to 6%, then the Judgment Debtor has or will soon have
15   a right to payment of commissions or other payments in between the estimated amounts of
16   $231,760.00 and $347,640.00. This amount is sufficient to satisfy most or all of the
17   outstanding balance due of the Judgment.
18          11.    I have been enforcing the underlying state court judgment entered against the
19   Judgment Debtor for many years, as well as attempting to enforce the Judgment entered in
20   this case. It is difficult, if not impossible, to find any assets of the Judgment Debtor available
21   to apply towards satisfaction of judgment, and it is exceptionally difficult to find him and
22   have him personally served. His promises to pay are clearly meaningless. Most of the efforts
23   to investigate assets and try to collect upon this Judgment have not yet resulted in any
24   satisfaction. The discovery of these real property listings, despite his DRE license suspension,
25   is one of the first big breaks in many years. Judgment Creditor has a need for an order
26   restraining the Judgment Debtor from assigning, disposing of, or encumbering the payment
27   rights sought to be assigned because, without this Court's entry of orders as prayed, it is likely
28   that Judgment Debtor will transfer his payment rights or simply disappear again.

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 1          12.    This motion should be granted for the reasons set forth herein, such that this
 2   Court orders the absolute and outright assignment to Judgment Creditor of Judgment Debtor's
 3   right to salesperson and/or broker commissions, fees, consulting fees, advances,
 4   reimbursement to expense accounts, bonuses, sales bonuses, royalty bonuses, and all other
 5   types of related payments (other than wages) due or to become due from the sale of the
 6   residential real property at 435 Pier Ave. and/or 2817 Third St., Santa Monica, California,
 7   directly or indirectly through AP Real Estate, Peter Mullins Properties, Peter Mullins Real
 8   Estate, Inc., and/or St Onge Mullins Properties Inc., to the extent necessary to pay the
 9   Judgment in full, including all costs, fees, and interest accrued through the date of payment.
10   Further, this Court should restrain and enjoin the Judgment Debtor, and any servant, agent,
11   employee, representative, attorney, or any person(s) in active concert and participating with
12   the Judgment Debtor, from encumbering, assigning, selling, transferring, disposing, dividing,
13   or licensing Judgment Debtor's above-described rights to payment due or to become due
14   thereunder.
15          Executed on September 1, 2016, at Los Angeles, California.
16          I declare under penalty of perjury under the laws of the United States of America and
17   the State of California that the foregoing is true and correct.
18
19                                                    /s/ Adam L. Streltzer
                                                    Adam L. Streltzer
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                        EXHIBIT A




                        EXHIBIT A




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 1   ADAM L. STRELTZER, Attorney at Law
        California Bar Number 17505
 2   1875 Century Park East, Suite 700                            FILED & ENTERED
     Los Angeles, California 90067-2508
 3   Tel: (424) 652-8010
     Fax: (424) 652-2296                                                AUG 11 2014
 4   Email: adam@streltzer.com
 5   Attorney for Plaintiff RONALD                                 CLERK U.S. BANKRUPTCY COURT
     KOLODZIEJ, an individual and doing                            Central District of California
                                                                   BY kaaumoanDEPUTY CLERK
 6   business as NIAGARA CONSTRUCTION
 7                                                         CHANGES MADE BY COURT
 8                         UNITED STATES BANKRUPTCY COURT
 9                          CENTRAL DISTRICT OF CALIFORNIA
10                                    LOS ANGELES DIVISION
11
12   In re                                             Case No. 2:12-bk-39952-WB
13   PETER D. MULLINS,                                 Chapter 11
                                                       (converted from Chapter 13)
14                        Debtor.
                                                       Adv. No. 2:12-ap-02670-WB
15
     RONALD KOLODZIEJ, an individual
16   and doing business as NIAGARA                     JUDGMENT UPON STIPULATION
     CONSTRUCTION,
17
                          Plaintiff(s),                Hearing:
18                                                     Date: August 5, 2014
     v.                                                Time: 2:00 p.m.
19                                                     Place: Courtroom 1375
     PETER D. MULLINS, an individual,
20
                          Defendant(s).
21
22           1.   IT IS HEREBY ORDERED THAT, pursuant to a Stipulation between
23   Defendant PETER D. MULLINS, an individual ("Defendant") and Plaintiff RONALD
24   KOLODZIEJ, an individual and doing business as NIAGARA CONSTRUCTION
25   ("Plaintiff") (AP Docket No. 61), judgment is entered in favor of Plaintiff and against
26   Defendant as follows: that the judgment entered September 26, 2011, amended nunc pro
27   tunc May 14, 2012, by the Superior Court of the State of California, County of Los
28   Angeles, in favor of Plaintiff and against Defendant in the case entitled Kolodziej v. Mullins
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 1   et al., case no. SC100345 ("State Court Judgment"), to the extent of and in the amount of
 2   two hundred and twenty-five thousand dollars ($225,000.00), shall be Plaintiff's damages in
 3   this adversary proceeding and shall constitute a nondischargeable obligation due and owing
 4   from Defendant to Plaintiff pursuant to 11 U.S.C. §§523(a) ("Judgment").
 5         2.     Enforcement of the Judgment shall be stayed, however enforcement shall only
 6   be stayed subject to the following:
 7                A.     Commencing September 1, 2014, the Defendant shall make the
 8         following payments to Plaintiff:
 9                       i.       Year One (1): For the first twelve (12) months thereafter, the
10                sum of one thousand dollars ($1,000.00) per month, to be received by Plaintiff
11                on or before the end of the business day on the first (1st) business day of each
12                month;
13                       ii.      Year Two (2): For the twelve (12) months thereafter, the sum of
14                two thousand dollars ($2,000.00) per month, to be received by Plaintiff on or
15                before the end of the business day on the first (1st) business day of each
16                month;
17                       iii.     Balloon Payment: The sum of twelve thousand five hundred
18                dollars ($12,500.00), to be received by Plaintiff on or before the end of the
19                business day on the first (1st) business day of the twenty-fifth (25th) month
20                after confirmation;
21                       iv.      Year Three (3): For the twelve (12) months thereafter, the sum
22                of $2,500.00) per month, to be received by Plaintiff on or before the end of
23                the business day on the first (1st) business day of each month;
24                       v.       If Defendant confirms a Chapter 11 Plan entered in this within
25                bankruptcy proceeding (2:12-bk-39952-WB), and on said condition only, then
26                Defendant's Chapter 11 Plan shall treat Plaintiff as an unsecured claim, for
27                which Plaintiff consents to such treatment, and Plaintiff shall be entitled to
28                receive any and all payments made or to be made to Plaintiff as an unsecured

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 1               claimant from the disbursing agent ("Plan Payments"). Defendant's Chapter
 2               11 Plan shall incorporate provisions that effectuate, or are not in conflict with,
 3               this Stipulation and the Judgment to be entered hereon; and
 4                      vi.     Final payment: The sum of fifty-nine thousand dollars
 5               ($59,000.00) (less the total amount of any and all Plan Payments actually
 6               received by Plaintiff), to be received by Plaintiff on or before the end of the
 7               business day on the first (1st) business day of the thirty-seventh (37th) month
 8               after confirmation.
 9               B.     If Plaintiff duly and timely receives all of the payments set forth above,
10        which totals the sum of one hundred thirty seven thousand and five hundred dollars
11        ($137,500.00), then Plaintiff shall satisfy the Judgment and forfeit any further Plan
12        Payments in excess thereof.
13               C.     Defendant shall have the right at any time and from time to time to
14        prepay the sums due and payable pursuant to this Stipulation, in whole or in part,
15        without premium or penalty;
16               D.     Time is of the essence in respect to all provisions hereof that specify a
17        time for performance. If Plaintiff does not receive a payment set forth above, on or
18        before its due date, then Plaintiff may deem Defendant to be in default and provide
19        notification to the via electronic mail (email) to petermullinsrealestate@gmail.com,
20        with a copy to Defendant's counsel via email to donna@srhlawfirm.com and
21        kevin@srhlawfirm.com and via Fax to (818) 783-6253, noting the default and the
22        amount of the payment then due. If Plaintiff does not receive such payment within
23        seven (7) calendar days thereafter, then:
24                      (i)     Defendant is deemed to consent to the termination of the
25               automatic stay of 11 U.S.C. §362, if any is then in existence;
26                      (ii)    The stay of enforcement set forth above in subparagraph (A) is
27               automatically terminated, without any other or further notice to Defendant;
28                      (iii)   The payment schedule set forth above in subparagraph (A) is

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 1                  automatically cancelled and of no further force or effect; and
 2                           (iv)   Plaintiff may immediately seek to enforce the Judgment by any
 3                  means permissible at law or equity for the enforcement of a money judgment,
 4                  plus accrued interest, fees, and costs, but less the total amount of all payments
 5                  actually received by Plaintiff before default.
 6                  E.       No waiver of any breach, failure, right, or remedy shall be deemed a
 7          waiver of any other breach, failure, right, or remedy, whether or not similar, nor shall
 8          any waiver constitute a continuing waiver.
 9                  F.       All payments to be made pursuant hereto shall be in United States
10          Dollars, and will be in the form of a check, drawn on good funds, made payable to
11          the "Costa, Abrams & Coate, LLP Client Trust Account," Attention: Joseph P. Costa,
12          Esq., and delivered on or before the due date during normal business hours to 1221
13          Second Street, Third Floor, Santa Monica, California 90401; (310) 576-6161.
14          3.      This Judgment shall earn simple interest accruing at the maximum rate as
15    provided by law from the date of entry hereon.
16          4.      Plaintiff shall be entitled to recover its reasonable attorneys' fees and costs
17    incurred with respect to the enforcement of the Judgment and the State Court Judgment.
18
                                                   ###
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20
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23
     Date: August 11, 2014
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                                                    STATE OF CALIFORNIA
                                                   BUREAU OF REAL ESTATE
    The license information shown below represents public information taken from the Bureau of Real Estate(CalBRE) database at the time of
     your inquiry. It will not reflect pending changes which are being reviewed for subsequent database updating. Also, the license information
   provided includes formal administrative actions that have been taken against licensees pursuant to the Business and Professions Code and/or
   the Administrative Procedure Act. All of the information displayed is public information. Although the business and mailing addresses of real
                                estate licensees are included, this information is not intended for mass mailing purposes.


            License information taken from records of the Bureau of Real Estate on 9/1/2016 2:26:12 PM

  License Type:                                        BROKER

  Name:                                                Mullins, Peter D

  Mailing Address:                                     2633 LINCOLN BLVD # 243
                                                       SANTA MONICA, CA 90405

  License ID:                                          00973691

  Expiration Date:                                     05/10/17

  License Status:                                      LICENSED

  Salesperson License Issued:                          11/03/87 (Unofficial -- taken from secondary records)

  Broker License Issued:                               05/11/00

  Former Name(s):                                      NO FORMER NAMES

  Main Office:                                         11940 SAN VICENTE BLVD SUITE 100
                                                       LOS ANGELES, CA 90049

  DBA                                                  AP Real Estate
                                                       ACTIVE AS OF 05/11/2000

  Branches:                                            NO CURRENT BRANCHES

  Affiliated Licensed Corporation(s): 01290123 - Officer Expiration Date: 11/30/08
                                      St Onge Mullins Properties Inc
                                      OFFICER LICENSE EXPIRED AS OF 12/01/08

                                                       01884318 - Officer Expiration Date: 06/16/14
                                                       Peter Mullins Real Estate Inc
                                                       OFFICER LICENSE EXPIRED AS OF 06/17/14

  Comment:                                             NO DISCIPLINARY ACTION

                                                       NO OTHER PUBLIC COMMENTS

                                                       >>>> Public information request complete <<<<




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                                          PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:

1875 Century Park East, Suite 700, Los Angeles, CA 90067 and 400 Corporate Pointe, Suite 300, Culver City, CA 90230.

A true and correct copy of the foregoing document entitled (specify): MOTION FOR ORDER ASSIGNING JUDGMENT
DEBTOR'S RIGHT TO PAYMENTS AND ORDER RESTRAINING JUDGMENT DEBTOR; MEMORANDUM OF POINTS
AND AUTHORITIES; REQUEST FOR JUDICIAL NOTICE; DECLARATION OF ADAM L. STRELTZER
[F.R.B.P. Rule 7069; F.R.C.P. Rule 69(a)(1); Cal. Code of Civ. Proc. §§708.510 & 708.520]
will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
09/02/2016, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

•          Dana M Douglas                           -         dmddouglas@hotmail.com
•          Kevin T Simon                            -         kevin@srhlawfirm.com, ktsecf@gmail.com
•          Adam L Streltzer                         -         adam@streltzer.com
•          United States Trustee (LA)               -         ustpregion16.la.ecf@usdoj.gov

                                                                                             Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) 09/02/2016, I served the following persons and/or entities at the last known addresses in this bankruptcy case
or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first
class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge
will be completed no later than 24 hours after the document is filed.


                                                                                             Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) 09/02/2016, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

•           Hon. Julia W. Brand, United States Bankruptcy Court, 255 E. Temple Street, Suite 1382, Los Angeles, California
90012      [USPS Priority Mail]
•           Peter D. Mullins, 2633 Lincoln Blvd. #342, Santa Monica, California 90405 [USPS Priority Mail]
•           Peter D. Mullins, 2520 5th St. #A, Santa Monica, California 90405 [USPS Priority Mail]
•           Donna Dishbak, Esq., 433 N. Camden Drive, 4th Fl., Beverly Hills, CA 90210 [USPS Priority Mail]

                                                                                             Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

    09/02/2016                   ADAM L. STRELTZER                                               /s/ Adam L. Streltzer
    Date                         Printed Name                                                    Signature



             This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                            F 9013-3.1.PROOF.SERVICE
